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Texas Almanac - The Source For All Things Texan Since 1857




  Attorneys General
    Filed U n d e r :   Government
                        Chief G o v e r n m e n t a l Officials


   Of the Republic


                            Attorney General                                         Began olflce           Left oltice            Party
                              David Thomas and Peter W Grayson                         March 2, 1836           Oct. 22, 1836
                              J Pinckney Henderson. Peter W
                                                                                       1836                    1838
                              Grayson, John Birdsall, A S . Thurston
                              J C. Watrous                                             Dec 1838                June 1. 1840
                              Joseph Webb and F A Morris                               1840                    1841
                              George W. Terrell, Ebenezer Allen                        1841                    1844
                              Ebenezer Allen                                           1844                    1846



   Of the State

   T h e first f e w attorneys general held office by appointment of the governor. T h e office w a s m a d e elective in 1850 by
   constitutional a m e n d m e n t . E b e n e z e r Allen was the first elected Attorney General.


                           Attorney Genera!                         Began olflce              Lett olllco                 Party

                              Volney E. Howard                       Feb. 21, 1846              May 7, 1846                 Democrat
                              John W. Harris                         May 7. I846                Oct. 31, 1849               Democrat
                              Henry P Brewster                       Ocl. 31, 1849              Jan 15, 1860
                              A J. Hamilton                          Jan. 15, 1850              Aug. 5, 1850
                              Ebenezer Allen                         Aug. 5. 1850               Aug 2, 1852
                              Thomas J. Jennings                     Aug. 2, 1852               Ami 4, 1856
                              James Willie                           Aug. 4, 1856               Aug 2,1858
                              Malcolm D. Graham                      Aug. 2, 1858               Aug. 6, I860               Democrat


   During C o n f e d e r a c y


                           Attorney General                         Began olflce              Lcll oltice                 Party

                              George M Flournoy                       Aug. 6, 1860             Jan.15, 1862                 Democrat
                              N.G Shelley                             Feb.3. 1862              Aug 1. 1864                  Democrat
                              B E Tarver                             Aug. 1 1864               Dec 11, 1865


   Reconstruction


                           Attorney General                  Oegan office                Left olflce                  Party

                             Wm Alexander                         Dec. 11, 1865           June 25 1886                 Unionist
                             W M. Walton                          June 25 1866             Aug. 27, 1867                  Democrat
                             Wm Alexander                         Aug. 27, 1867            Nov 5 1867                     Republican
                             EzeKiel B. Turner                    Nov 5, 1367             July 11, 1870                   Independent
                             Wm Alexander                         July 11. 1870           Jan 27, 1874                 Republican


   Reconstruction e n d s


                          jAttorney General                           Began office               Left office               Party

                             George Clark                               Jan. 27, 1874             Apr 25, 1876                Democrat
                             H.H Boone                                  Apr 25, 1876               Nov 5, 1878                Democrat
                             George McCormick                           Nov 5, 1878               Nov. 2, 1880
                             J.H. McLeary                               Nov. 2. 1880              Nov 7. 1882                 Democrat
                             John D TemplHon                            Nov 7, 1882               Nov. 2, 1886                Democrat
                             James S Hogg                               Nov. 2. 1886              llov 4. 1890                Democrat

                             C A Culberson                              Nov 4, 1890               Nov. 8, 1894                Democrat

                             M.M Crane                                  Nov. 6, 1894              Nov 8, 1898                 Democrat
                             Thomas S Smith                             Nov 8, 1898               March 15, 1901              Democrat
                             C K. Bell                                  March 20. 1901            Jan. 1904                   Democrat
                             R V. Davidson                              Jan, 1904                 Dec. 31, 1909               Democrat
                             Jewel P Lightfoot                          Jan 1 1910                Aug 31, 1912                Democrat
                             James D. Walthall                          Sept 1 1912               Jan. 1. 1913                Democral
                             B F Looney                                 Jan 1 1913                Jan. 1919                   Democrat
                             C M. Cureton                               Jan. 1919                 Dec. 1921                   Democral
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                    Attorney General                          B<;C)'1|} oifice         Loft office            Party

                      W.A Keeling                               Dec 1921                Jan 1925               Democrat
                      Dan Moody                                Jan. 1925                Jan. 1927              Democrat
                      Claude Pollard                            Jan 1927                Sept. 1929             Democrat
                      R L Bobbit      (appointed)              Sept. 1929               Jan. 1931              Democrat
                      James V. Allred                          Jan. 1931                Jan. 1935              Democrat
                      William McCraw                           Jan 1935                 Jan. 1939              Democrat
                      Gerald C. Mann       (resigneilj         Jan. 1939                Jan. I944              Democrat
                      Grover Sellers                           Jan 1944                 Jan, 1947              Democrat
                      Price Daniel                             Jan. 1947                Jan. 1953              Democrat
                      John Ben Sbepperd                        Jarv 1953                Jan, 1, 1957           Democrat
                      Will Wilson                              Jan. 1, 1957             Jan. 15, 1963          Democrat
                      Waggoner Can-                            Jan. 15.1963             Jan, 1, 1967           Democrat
                      Crawford C Martin                        Jan. I. 1967             Dec, 29, 1972          Democrat
                      John Hill                                Jan. 1, 1973             Jan. 16, 1979          Democrat
                      Mark White                               Jan. 16, 1979            Jan 18, 1983           Democrat
                      Jim Mattox                               Jail. 18. 1983           Jan. 15, 1991          Democrat
                      Dan Morales                              Jan. 15, 1991            Jail 13, 1999          Democrat
                      John Comyn                               Jan. 13,1'i')9           Dec. 2, 2002           Republican
                      Greg Abbott                              Dec 2, 2002              present                Republican




Sources:     Texas Slate Library     and Archives        Commission,     Legislative   Reference     Library of Texas, the Handbook   of   Texas
Online,    Texas Almanac   archive,    the Dallas Morning        News, and Journals       of the House of       Representatives,
